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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 24-6313


        MARK BRIAN FOSTER, JR.,

                             Plaintiff - Appellant,

                      v.

        WARREN ALEXANDER; BRYANT POOLE,

                             Defendants - Appellees,

                      and

        CORRECTIONAL OFFICERS, Eastern Correctional,

                             Defendant.


        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Raleigh. Terrence W. Boyle, District Judge. (5:22-ct-03003-BO)


        Submitted: August 22, 2024                                        Decided: August 27, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Mark Brian Foster, Jr., Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Mark Brian Foster, Jr., appeals the district court’s order granting summary judgment

        in favor of Defendants on his 42 U.S.C. § 1983 excessive force claim. We have reviewed

        the record and find no reversible error. Accordingly, we deny Foster’s pending motions,

        and we affirm the district court’s order. Foster v. Alexander, No. 5:22-ct-03003-BO

        (E.D.N.C. Mar. 18, 2024). We dispense with oral argument because the facts and legal

        contentions are adequately presented in the materials before this court and argument would

        not aid the decisional process.

                                                                                      AFFIRMED




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